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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                       )
                                                )
                     Plaintiff,                 )
                                                )
              vs.                               )                 8:06CR23
                                                )
JEREMY TORPY,                                   )                 ORDER
                                                )
                     Defendant.                 )




       Before the Court is defendant’s Motion to File Under Seal [28]. Good cause being
shown, the motion will be granted. Defendant is given leave to file the substance abuse
evaluation under seal.

       IT IS SO ORDERED.

       DATED this 27th day of February, 2006.

                                             BY THE COURT:


                                             s/ F.A. Gossett
                                             United States Magistrate Judge
